         Case 3:22-cr-00036-CRB Document 26 Filed 04/06/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

                                     Criminal Minutes

Date: April 6, 2022                Judge: Honorable Charles R. Breyer

Court Reporter: Ana Dub
Time: 9 Minutes
Case No.: CR22-0036-1 CRB
Case Name: USA v. Juli Mazi (Present) (NC)

Attorney(s) for Government: Katherine Lloyd-Lovett and Sridhar Kaza
Attorney(s) for Defendant(s): Philip Schnayerson
Interpreter: N/A

Deputy Clerk: Lashanda Scott


                                     PROCEEDINGS

Change of Plea hearing held by Zoom. Due to the Covid19 pandemic, all parties consent to
proceed by video conference. The defendant was sworn. Plea Agreement provided to the Court.
Defendant plead guilty to Count 1 and 2 of the Indictment. Sentencing hearing set for
July 29, 2022 at 10:00 a.m.
